          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                      CRIMINAL CASE NO. 1:99cr75-2


UNITED STATES OF AMERICA, )
                            )
                            )
             vs.            )                 ORDER
                            )
                            )
WAYNELY BROWN .             )
                          )



     THIS MATTER is before the Court on the Defendant’s Motion Pursuant

to Rule 33 of Criminal Procedures [Doc. 282] and his Motion for Evidentiary

Hearing [Doc. 284].



                         PROCEDURAL HISTORY

     On August 4, 1999, the Defendant was charged in a one count bill of

indictment with conspiracy to possess with intent to distribute cocaine and

cocaine base, in violation of 21 U.S.C. §846. [Doc. 3]. He was found guilty

after jury trial in January 2000 and was sentenced to 240 months

imprisonment in January 2001. [Doc. 56; Doc. 108].       His conviction and



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sentence were affirmed on direct appeal.         United States v. Brown, 38

Fed.Appx. 133 (4 th Cir. 2002), certiorari denied 547 U.S. 1120, 126 S.Ct.

1929, 164 L.Ed.2d 678 (2006).

      In August 2003, the Defendant moved pursuant to 28 U.S.C. §2255 to

vacate or set aside his conviction. [Doc. 191]. His motion was denied [Doc.

201] and the Fourth Circuit declined to issue a certificate of appealability.

Brown v. United States, 95 Fed.Appx. 13 (4 th Cir. 2004), certiorari denied 543

U.S. 973, 125 S.Ct. 446, 160 L.Ed.2d 347 (2004).

      The Defendant has been a prolific filer in this Court.       He has filed

numerous motions, including motions to reconsider, to compel the

Government, for clarification, and to produce grand jury transcripts. [Docs.

202, 219, 227, 228, 231, 248].      In August 2008, he was identified as a

defendant potentially entitled to relief pursuant to the crack cocaine guideline

amendment, Amendment 706. [Doc. 257]. An attorney appointed to represent

the Defendant concluded that he was ineligible for relief because the

applicable guideline range remained unchanged after the amendment. The

guideline range, both before and after the amendment, was greater than the

240 month statutory maximum sentence. Hence, pursuant to USSG 5G1.1(a)

the guideline range remained 240 to 240 months. [Doc. 259]. The United



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States Probation Officer agreed and found the Defendant ineligible for any

relief. [Docs. 262, 263]. On March 16, 2009, the sentencing court denied the

Defendant’s pro se motion for relief pursuant to the amendment. [Doc. 264].

On appeal, the denial of relief was affirmed. United States v. Brown, 329

Fed.Appx. 475 (4 th Cir. 2009).

      Undetered, the Defendant filed the pending motion on September 1,

2009 for a sentence reduction pursuant to Federal Rule of Criminal Procedure

33. [Doc. 282]. On January 25, 2010, he moved for an evidentiary hearing.

[Doc. 284].



                                  DISCUSSION

      The Defendant moves for a new trial, claiming that the attorney

appointed to represent him in connection with the crack cocaine guideline

amendment was ineffective. Because counsel was ineffective, he argues, this

constitutes newly discovered evidence entitling him to a new trial pursuant to

Federal Rule of Criminal Procedure 33.

      In determining whether a new trial should be granted under Rule
      33 for newly discovered evidence, [the] court utilizes a five-part
      test:

              (a) the evidence must be, in fact, newly discovered;
              i.e., discovered since the trial; (b) facts must be

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            alleged from which the court may infer diligence on
            the part of the movant; (c) the evidence relied on must
            not be merely cumulative or impeaching; (d) it must
            be material to the issues involved; and (e) it must be
            such, and of such nature, as that, on a new trial, the
            newly discovered evidence would probably result in
            an acquittal.

      Without ruling out the possibility that a rare example might exist,
      [the Fourth Circuit has] never allowed a new trial unless all five
      elements were established.

United States v. Fulcher, 250 F.3d 244, 249 (4 th Cir. 2001), certiorari denied

534 U.S. 939, 122 S.Ct. 313, 151 L.Ed.2d 233 (2001), quoting United States

v. Custis, 988 F.2d 1355, 1359 (4 th Cir. 1989), certiorari granted in part 510

U.S. 913, 114 S.Ct. 299, 126 L.Ed.2d 248 (1993), affirmed 511 U.S. 485, 114

S.Ct. 1732, 128 L.Ed.2d 517 (1994) (other citations omitted).

      Assuming that the Defendant may move pursuant to Rule 33 for a new

trial based on the conduct of counsel appointed to investigate post-conviction

relief, the Fourth Circuit has ruled that the Defendant is not eligible for relief

pursuant to the crack cocaine guideline amendment. United States v. Brown,

329 Fed.Appx. 475 (4 th Cir. 2009). Thus, the fact that the attorney also

concluded the Defendant was ineligible for relief does not constitute

ineffective assistance of counsel.

      The Defendant also claims that this attorney was ineffective for failing



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to argue, in the context of the crack cocaine guideline amendment, that his

twenty year sentence violated Apprendi v. New Jersey, 530 U.S. 466, 120

S.Ct. 2348, 147 L.Ed.2d 435 (2000), Blakely v. W ashington, 542 U.S. 296,

124 S.Ct. 2531, 159 L.Ed.2d 403 (2004), and United States v. Booker, 543

U.S. 220, 125 S.Ct. 738, 160 L.Ed.2d 621 (2005). Modification proceedings

pursuant to 18 U.S.C. §3582(c)(2), however, are not complete re-sentencing

hearings, and all other guideline application decisions are unaffected. United

States v. Melvin, 556 F.3d 1190, 1192-93 (11 th Cir. 2009), certiorari denied

129 S.Ct. 2382, 173 L.Ed.2d 1300 (2009) (Booker does not address motions

to reduce pursuant to §3582(c)(2)); United States v. Rhodes, 549 F.3d 833,

840 (10 th Cir. 2008), certiorari denied 129 S.Ct. 2052, 173 L.Ed.2d 1136

(2009).

      Moreover, the Fourth Circuit considered and rejected the Defendant’s

Apprendi claim on direct appeal. Brown, 38 Fed.Appx. 133. When a federal

prisoner raises a claim that had been decided on direct appeal, he cannot

relitigate that claim collaterally. Boeckenhaupt v. United States, 537 F.2d

1182, 1183 (4 th Cir. 1976), certiorari denied 429 U.S. 863, 97 S.Ct. 169, 50

L.Ed.2d 142 (1976). Moreover, none of these cases applies retroactively to

cases in which post-conviction relief is sought. United States v. Dunphy, 551



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F.3d 247, 251-53 (4 th Cir. 2009), certiorari denied 129 S.Ct. 2401, 173 L.Ed.2d

1296 (2009) (Booker has no application to proceedings under §3582(c)(2));

United States v. McKenzie, 2009 W L 3969700 (4 th Cir. 2009) (Apprendi is not

retroactively available in a §3582 proceeding), citing United States v. McBride,

283 F.3d 612, 615-16 (3 rd Cir. 2002), certiorari denied 537 U.S. 864, 123 S.Ct.

258, 154 L.Ed.2d 106 (2002); United States v. Fowler, 133 Fed.Appx. 922 (4 th

Cir. 2005) (“Neither Booker nor Blakely announced a new rule of constitutional

law made retroactive by the Supreme Court to cases on collateral review.”).

      Finally, the Fourth Circuit has ruled that

      information supporting an ineffective assistance claim is not
      “evidence” within the meaning of Rule 33 and, therefore, ... a
      motion for a new trial predicated on ineffective assistance of
      counsel must be brought, if at all, within seven days of judgment
      regardless of when the defendant becomes aware of the facts
      which suggested to [him] that [his] attorney’s performance may
      have been constitutionally inadequate.

United States v. Smith, 62 F.3d 641, 648 (4 th Cir. 1995); United States v.

McGurk, 290 Fed.Appx. 585, 587 (4 th Cir. 2008); United States v. Rathburn,

45 Fed.Appx. 243 (4 th Cir. 2002). This motion is therefore untimely.

      Because no relief is available to the Defendant, his motion for an

evidentiary hearing is moot.




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                                 ORDER

     IT IS, THEREFORE, ORDERED that the Defendant’s Motion Pursuant

to Rule 33 of Criminal Procedures [Doc. 282] is hereby DENIED.

     IT IS FURTHER ORDERED that his Motion for Evidentiary Hearing

[Doc. 284] is hereby DENIED as moot.

                                    Signed: May 14, 2010




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